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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                              NORTHEASTERN DIVISION

TROY T. WILLIAMS,                                )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )
                                                 ) Civil Action No. 5:17-CV-01216-CLS
CAPITAL ONE BANK (USA),                          )
N.A., and EQUIFAX                                )
INFORMATION SERVICES,                            )
INC.,                                            )
                                                 )
       Defendants.                               )

                                             ORDER

       This case is before the court on the pro se plaintiff’s motion to disqualify the

undersigned due to personal bias and prejudice.1 Plaintiff bases his allegations of

bias upon this court’s December 8, 2017 order, which denied plaintiff’s motion to

strike the answer filed by defendant Equifax Information Services, Inc. (“Equifax”)

to plaintiff’s Second Amended Complaint, even though Equifax failed to comply with

the court’s order to respond to the motion to strike by November 28, 2017.2

       Federal law requires a judge to disqualify himself “in any proceeding in which

his impartiality might reasonably be questioned,” 28 U.S.C. § 455(a), and whenever


       1
           Doc. no. 76.
       2
        See doc. no. 73 (motion to strike); doc. no. 74 (order to respond); doc. no. 75 (order denying
motion to strike).
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“he has a personal bias or prejudice concerning a party.” 28 U.S.C. § 455(b).

              To require recusal, a judge’s bias “must stem from an extrajudicial
       source and result in an opinion on the merits on some basis other than
       what the judge learned from his participation in the case.” Jaffe v. Grant,
       793 F.2d 1182, 1188-89 (11th Cir. 1986) (quotations omitted). Adverse
       judicial rulings are generally “proper grounds for appeal, not for
       recusal.” Liteky v. United States, 510 U.S. 540, 555, 114 S. Ct. 1147,
       1157, 127 L. Ed. 2d 474 (1994). “A judge’s ordinary efforts at
       courtroom administration” also do not show bias. Id. at 556, 114 S. Ct.
       at 1157.

Iacullo v. United States, 463 F. App’x 896, 898 (11th Cir. 2012).3

       The failure of Equifax to comply with this court’s order to respond to plaintiff’s

motion to strike is not to be commended. Even so, as another judge of this court has

stated:

             When the opposing party fails to file an objection, the motion is
       not automatically granted. Rather,

               the Court will review the merits of the [movant]’s position
               and, if it is clearly incorrect or inadequate to satisfy the
               [movant]’s initial burden, will deny the motion despite the
               [nonmovant]’s failure to respond. If, however, the
               [movant]’s presentation is adequate to satisfy its initial
               burden, the Court will not deny the motion based on
               arguments the [nonmovant] could have made but by silence
               elected not to raise.

       Gailes v. Marengo County Sheriff’s Dep’t, 2013 WL 81227, *5 (S.D.
       Ala. Jan. 4, 2013).

       3
         Plaintiff already has been apprised of this standard on one other occasion, when United
States Magistrate Judge Herman N. Johnson, Jr., denied the motion plaintiff filed for him to recuse
himself. See doc. no. 32 (order denying motion for recusal).

                                                2
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Lake v. Marshall-Dekalb Electric Cooperative, No. 4:15-CV-339-VEH, 2015 WL

12781058, at *1 (N.D. Ala. May 14, 2015) (Hopkins, J.) (alterations in original).

      Here, the arguments asserted in plaintiff’s motion to strike were clearly

incorrect. Plaintiff asserted that many of the defenses raised in Equifax’s answer

were wrong, unfounded, or inconsistent with Equifax’s prior statements. But, at the

pleading stage, Equifax is entitled to assert defenses that ultimately may not be

supported by the evidence, just as plaintiff is entitled to assert claims that ultimately

may not be successful on the merits. The purpose of the pleadings are to frame the

parties’ claims and defenses for discovery. If, after discovery is conducted, there is

no evidence to support the claims or defenses, summary judgment can then be

granted. None of the defenses asserted in Equifax’s answer are so salacious or

meritless that they need to be stricken from the pleading at this stage of the case, prior

to discovery.

      Plaintiff may disagree with this court’s denial of his motion to strike, but that

is not grounds for judicial disqualification. The court’s decision to control its docket

by denying the motion to strike does not demonstrate bias. Accordingly, plaintiff’s

motion to disqualify is DENIED.




                                            3
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DONE and ORDERED this 8th day of January, 2018.



                                   ______________________________
                                   United States District Judge




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